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B AKER & H OSTETLER LLP




                           12                                      EXHIBIT A
   A TTORNEYS AT L A W
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                           13                      REVISED FIRE PROOF OF CLAIM FORM
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                          Case: 19-30088   Doc# 2747-1   Filed: 06/25/19   Entered: 06/25/19 11:02:07   Page 1
                                                                 of 11
                UNITED STATES BANKRUPTCY COURT FOR
                THE NORTHERN DISTRICT OF CALIFORNIA
                       SAN FRANCISCO DIVISION

In re:                                Chapter 11
    PG&E Corporation, and             Case No. 19-30088 (DM)
    Pacific Gas and Electric Company, Jointly Administered
         Debtors.



 Proof of Claim (Fire Claim Related)
 Read the instructions before filing this claim form. This form is for tort claimants who have a claim against the Debtors (i.e. PG&E
 Corporation and Pacific Gas and Electric Company) that arose prior to the Debtors filing for bankruptcy (i.e. prior to January 29, 2019) and
 that arose from, or relates to, a fire. Do not use this form for non-fire claims. Non-fire tort claimants should use Form 410.
 Do NOT file a fraudulent claim. A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both.
 18 U.S.C. §§ 152, 157, and 3571.
 Please type or print in the spaces below. Do NOT use red ink or pencil.

 Part 1:    Identify the Claim

1. Who is the current
   creditor?
                               Name of the current creditor (the person or entity to be paid for this claim)



2. Has this claim been          No
    acquired from
    someone else?
                                Yes. From whom? ______________________________________________________________________________

3. Are you filing on behalf                     If you checked “Yes”, please provide the full name of each family member that you are filing on behalf of:
   of your family?              Yes
  A family is a group of two    No                                                                            __________________________________________
  or more people related by
  birth, marriage, domestic                                                                                    __________________________________________
  partnership, or adoption                                                                                     __________________________________________
  and residing together. All
  such people are                                                                                              __________________________________________
  considered as members
  of one family.
4. Where should notices        Where should notices to the creditor be sent?                        Where should payments to the creditor be sent? (if different)
   and payments to the
   creditor be sent?           Name ______________________________________________ Name _____________________________________________________

   Federal Rule of             Attorney Name (if applicable) ____________________________ Attorney Name (if applicable) ___________________________________

   Bankruptcy Procedure        Attorney Bar Number (if applicable) _______________________ Attorney Bar Number (if applicable) ______________________________
   (FRBP) 2002(g)              Street Address _______________________________________ Street Address ______________________________________________

                               City ________________________________________________ City _______________________________________________________

                               State _______________________________________________ State ______________________________________________________

                               Zip Code ____________________________________________ Zip Code ___________________________________________________

                               Phone Number _______________________________________ Phone Number ______________________________________________

                               Email Address ________________________________________ Email Address _______________________________________________

5. Does this claim amend        No
   one already filed?
                                Yes. Claim number on court claims registry (if known) _____________________                     Filed on
                                                                                                                                            MM   / DD   / YYYY


6. Do you know if anyone        No
   else has filed a proof of
   claim for this claim?
                                Yes. Who made the earlier filing ___________________________________________________________________




           Case: 19-30088             Doc# 2747-1                 Filed: 06/25/19                Entered: 06/25/19 11:02:07                      Page 2
                                                                          of 11
 Part 2:
            Give Information About the Claim as of the Date the Case Was Filed

7. What fire is the basis of     Camp Fire (2018)
   your claim? Check all         North Bay Fires (2017)
   that apply.                   Ghost Ship Fire (2016)
                                 Butte Fire (2015)
                                 Other (please provide date and brief description of fire): ________________________________________________
                               _________________________________________________________________________________________________




8. What are the loss           Location(s):
   location(s) where you
   and/or your family
   suffered harm? (e.g.
   home or business
   address, place of injury,
   place from which you
   were evacuated, if
   different).


9. How were you and/or           Property Damage (homes, structures, personal property, land, trees, landscaping, and all other property damage)
   your family harmed?             Owner  Renter  Occupant  Other (Please specify):
   Check all that apply.
                                 Personal Injury
                                 Wrongful Death (If checked, please provide the name of the deceased:
                                 Business Loss/Interruption
                                 Lost wages and earning capacity
                                 Loss of community and essential services
                                 Agricultural loss
                                 Other (Please specify)


10. What damages are you         Economic damages (including replacement cost of damaged property, diminution in value, loss of use, lost inventory, lost
   and/or your family              profits, and other economic damage)
   claiming/seeking?             Non-economic damages (including loss of society and support, loss of consortium, pain and suffering, emotional distress,
                                   annoyance and discomfort, and other non-economic damage)
                                 Punitive, exemplary, and statutory damages
                                 Attorney’s fees and litigation costs
                                 Interest
                                 Any and all other damages recoverable under California law
                                 Other (Please specify)


11. How much is the claim?       To be determined in an amount according to proof or $                                                     (optional)




           Case: 19-30088              Doc# 2747-1           Filed: 06/25/19           Entered: 06/25/19 11:02:07                  Page 3
                                                                     of 11
Part 3:    Sign Below

The person completing         Check the appropriate box:
this proof of claim must
sign and date it.             
                               I am the creditor.
FRBP 9011(b).                 
                               I am the creditor’s attorney or authorized agent.
If you file this claim
electronically, FRBP         I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
5005(a)(2) authorizes courts and correct.
to establish local rules
specifying what a signature
                             I declare under penalty of perjury that the foregoing is true and correct.
is.
A person who files a          Executed on date
fraudulent claim could be                         MM / DD / YYYY
fined up to $500,000,
imprisoned for up to 5
years, or both.               Signature
18 U.S.C. §§ 152, 157, and
3571.                         Print the name of the person who is completing and signing this claim:
                               Name                 _____________________________________________________________________________________
                                                    First Name                  Middle Name                Last Name

                               Title                _____________________________________________________________________________________

                               Company              _____________________________________________________________________________________
                                                    Identify the corporate servicer as the company if the authorized agent is a servicer

                               Address              _____________________________________________________________________________________
                                                    Number                      Street

                                                    _____________________________________________________________________________________
                                                    City                        State                      ZIP Code

                               Contact phone        _____________________________________________ Email          _____________________________




          Case: 19-30088               Doc# 2747-1           Filed: 06/25/19           Entered: 06/25/19 11:02:07                   Page 4
                                                                     of 11
Instructions for Proof of
Claim (Fire Claim Related)
United States Bankruptcy Court

You may have a claim against the Debtors for monetary                    Question 11. You are not required to include a claim amount
loss, personal injury (including death), or other asserted                 with your proof of claim. Providing a claim amount at this time
damages arising out of or related to a fire. You should                    is optional.
consider obtaining the advice of an attorney, especially
if you are unfamiliar with the bankruptcy process and              Confirmation that the claim has been filed
privacy regulations.                                               To receive confirmation that the claim has been filed, enclose a
                                                                   stamped self-addressed envelope and a copy of this form. You may
                                                                   view a list of filed claims in this case by visiting the Claims and
  A person who files a fraudulent claim could be fined up
                                                                   Noticing Agent’s website at http://restructuring.primeclerk.com/pge.
  to $500,000, imprisoned for up to 5 years, or both.
  18 U.S.C. §§ 152, 157 and 3571.                                  Understand the terms used in this form
                                                                   Claim: A creditor’s right to receive payment for a debt that the debtor
How to fill out this form:                                         owed on the date the debtor filed for bankruptcy. 11 U.S.C. § 101 (5).
 Fill in all of the information about the claim as of             A claim may be secured or unsecured.
   the date this claim form is filed.                              Creditor: A person, corporation, or other entity to whom a debtor
                                                                   owes a debt that was incurred on or before the date the debtor filed
 If the claim has been acquired from someone else,
   then state the identity of the last party who owned the         for bankruptcy. 11 U.S.C. § 101 (10).
   claim or was the holder of the claim and who transferred        Debtor: PG&E Corporation and Pacific Gas & Electric Company.
   it to you before the initial claim was filed.
                                                                   Information that is entitled to privacy: A Proof of Claim form must
 For a minor child, fill in only the child’s initials and
                                                                   show only the last 4 digits of any social security number, an
   the full name of the child’s parent or guardian. For
                                                                   individual’s tax identification number, or a financial account number,
   example, write A.B., a minor child (John Doe, parent).
                                                                   only the initials of a minor’s name, and only the year of any person’s
   See Bankruptcy Rule 9037.
                                                                   date of birth. If a claim is based on delivering health care goods or
 You are not required to attach supporting                        services, limit the disclosure of the goods or services to avoid
   documents to this form. Many communities suffered               embarrassment or disclosure of confidential health care information.
   significant, if not complete, ruin and destruction. Also,       You may later be required to give more information if the trustee or
   many individual claimants are displaced, lack the means         someone else in interest objects to the claim.
   for electronic and comprehensive communications and
   continue to have urgent priorities that make                    Proof of Claim: A form that shows the creditor has a tort claim
   documentation requirements difficult and impractical. It        against the debtors on or before the date of the bankruptcy filing. The
   is understood that supporting documents for many                form must be filed in the district where the case is pending.
   claimants have been destroyed or lost in the fires and
                                                                   Redaction of information: Masking, editing out, or deleting certain
   that the reconstruction and retrieval process is slow or
                                                                   information to protect privacy. Filers must redact or leave out
   even underway. Supporting documents shall be
                                                                   information entitled to privacy on the Proof of Claim form and any
   gathered, maintained and provided at a later date as
                                                                   attached documents.
   instructed by the Court.

 Question 2. Members of a family are not required to file         Offers to purchase a claim
   a proof of claim as a family but can submit individual
                                                                   Certain entities purchase claims for an amount that is less than the
   claim forms for each family member that has a tort claim
                                                                   face value of the claims. These entities may contact creditors offering
   against the debtors.
                                                                   to purchase their claims. Some written communications from these
 Question 8. If you suffered property damage, then                entities may easily be confused with official court documentation or
   provide the street address of each real property parcel         communications from the debtor. These entities do not represent the
   where you suffered property damage. If you were                 bankruptcy court, the bankruptcy trustee, or the debtor. A creditor
   personally evacuated as the result of a fire, then provide      has no obligation to sell its claim. However, if a creditor decides to
   the address or intersection closest to where you                sell its claim, any transfer of that claim is subject to Bankruptcy Rule
   encountered the fire and began evacuation. If you               3001(e), any provisions of the Bankruptcy Code (11 U.S.C. § 101 et
   suffered property damage and were evacuated from a              seq.) that apply, and any orders of the bankruptcy court that apply.
   different location, include both. If you were a renter,
   provide the address of your residence.

 Question 9. This question requests general statements
   of underlying facts relating to harm and is not intended to
   be exhaustive  or preclusive. Doc# 2747-1 Filed: 06/25/19
        Case: 19-30088                                                      Entered: 06/25/19 11:02:07               Page 5
                                                                of 11
Please send completed Proof(s) of Claim to:

If by first class mail:
PG&E Corporation Claims Processing Center
c/o Prime Clerk LLC
Grand Central Station, PO Box 4850
New York, NY 10163-4850

If by overnight courier or hand delivery:
PG&E Corporation Claims Processing Center
c/o Prime Clerk LLC
850 Third Avenue, Suite 412
Brooklyn, NY 11232

You may also hand deliver your completed Proof(s) of
Claim to any of the following service center offices (during
the hours of 8:30 a.m. – 5:00 p.m. Pacific Time):

Chico Service Center
350 Salem Street
Chico, CA 95928

Marysville Service Center
231 “D” Street
Marysville, CA 95901

Napa Service Center
1850 Soscol Ave. Ste 105
Napa, CA 94559

Oroville Service Center
1567 Huntoon Street
Oroville, CA 95965

Redding Service Center
3600 Meadow View Road
Redding, CA 96002

Santa Rosa Service Center
111 Stony Circle
Santa Rosa, CA 95401
Photocopy machines will not be available at the Claim
Service Centers; you must bring a copy of your claim if
you wish to receive a date-stamped conformed copy.


  Do not file these instructions with your
  form.




           Case: 19-30088         Doc# 2747-1         Filed: 06/25/19   Entered: 06/25/19 11:02:07   Page 6
                                                              of 11
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              Case: 19-30088                 Doc# 2747-1                Filed: 06/25/19                Entered: 06/25/19 11:02:07                    Page 7
                                                                                of 11
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            Case: 19-30088      Doc# 2747-1 Filed: 06/25/19 Entered: 06/25/19 11:02:07
                        6LJQDWXUH                                                                                                                    Page 8
                                                                  of 11
                        3ULQWWKHQDPHRIWKHSHUVRQZKRLVFRPSOHWLQJDQGVLJQLQJWKLVFODLP
1DPH            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                )LUVW1DPH                  0LGGOH1DPH                /DVW1DPH

7LWOH           BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

&RPSDQ\         BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                ,GHQWLI\WKHFRUSRUDWHVHUYLFHUDVWKHFRPSDQ\LIWKHDXWKRUL]HGDJHQWLVDVHUYLFHU

$GGUHVV         BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                1XPEHU                      6WUHHW

                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                &LW\                        6WDWH                      =,3&RGH

&RQWDFWSKRQH   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB (PDLO   BBBBBBBBBBBBBBBBBBBBBBBBBBBBB




                                             &LW\                                           6WDWH       =,3&RGH

                           &RQWDFWSKRQH                                                   (PDLO       




           Case: 19-30088         Doc# 2747-1           Filed: 06/25/19       Entered: 06/25/19 11:02:07           Page 9
                                                                of 11
,QVWUXFWLRQVIRU3URRIRI&ODLP )LUH
&ODLP5HODWHG
8QLWHG6WDWHV%DQNUXSWF\&RXUW

<RXPD\KDYHDFODLPDJDLQVWWKH'HEWRUVIRUPRQHWDU\ORVV                   4XHVWLRQ<RXDUHQRWUHTXLUHGWRLQFOXGHDFODLPDPRXQW
SHUVRQDOLQMXU\ LQFOXGLQJGHDWK RURWKHUDVVHUWHGGDPDJHV                     ZLWK\RXUSURRIRIFODLP3URYLGLQJDFODLPDPRXQWDWWKLVWLPH
DULVLQJRXWRIRUUHODWHGWRDILUH<RXVKRXOGFRQVLGHU                        LVRSWLRQDO
REWDLQLQJWKHDGYLFHRIDQDWWRUQH\HVSHFLDOO\LI\RXDUH
XQIDPLOLDUZLWKWKHEDQNUXSWF\SURFHVVDQGSULYDF\                         &RQILUPDWLRQWKDWWKHFODLPKDVEHHQILOHG
UHJXODWLRQV                                                               7RUHFHLYHFRQILUPDWLRQWKDWWKHFODLPKDVEHHQILOHGHQFORVHD
                                                                           VWDPSHGVHOIDGGUHVVHGHQYHORSHDQGDFRS\RIWKLVIRUP<RXPD\
                                                                           YLHZDOLVWRIILOHGFODLPVLQWKLVFDVHE\YLVLWLQJWKH&ODLPVDQG
  $SHUVRQZKRILOHVDIUDXGXOHQWFODLPFRXOGEHILQHGXSWR
                                                                           1RWLFLQJ$JHQW¶VZHEVLWHDWKWWSUHVWUXFWXULQJSULPHFOHUNFRPSJH
  LPSULVRQHGIRUXSWR\HDUVRUERWK
  86&DQG                                          8QGHUVWDQGWKHWHUPVXVHGLQWKLVIRUP
+RZWRILOORXWWKLVIRUP                                                 &ODLP$FUHGLWRU¶VULJKWWRUHFHLYHSD\PHQWIRUDGHEWWKDWWKHGHEWRU
                                                                           RZHGRQWKHGDWHWKHGHEWRUILOHGIRUEDQNUXSWF\86&  
 )LOOLQDOORIWKHLQIRUPDWLRQDERXWWKHFODLPDVRI
                                                                           $FODLPPD\EHVHFXUHGRUXQVHFXUHG
   WKHGDWHWKLVFODLPIRUPLVILOHG
                                                                           &UHGLWRU$SHUVRQFRUSRUDWLRQRURWKHUHQWLW\WRZKRPDGHEWRU
 ,IWKHFODLPKDVEHHQDFTXLUHGIURPVRPHRQHHOVH                        RZHVDGHEWWKDWZDVLQFXUUHGRQRUEHIRUHWKHGDWHWKHGHEWRUILOHG
   WKHQVWDWHWKHLGHQWLW\RIWKHODVWSDUW\ZKRRZQHGWKH                 IRUEDQNUXSWF\86&  
   FODLPRUZDVWKHKROGHURIWKHFODLPDQGZKRWUDQVIHUUHG
   LWWR\RXEHIRUHWKHLQLWLDOFODLPZDVILOHG                           'HEWRU3* (&RUSRUDWLRQDQG3DFLILF*DV (OHFWULF&RPSDQ\

 )RUDPLQRUFKLOGILOOLQRQO\WKHFKLOG¶VLQLWLDOVDQG                 ,QIRUPDWLRQWKDWLVHQWLWOHGWRSULYDF\$Proof of Claim IRUPPXVW
   WKHIXOOQDPHRIWKHFKLOG¶VSDUHQWRUJXDUGLDQ)RU                   VKRZRQO\WKHODVWGLJLWVRIDQ\VRFLDOVHFXULW\QXPEHUDQ
   H[DPSOHZULWHA.B., a minor child John Doe, parent                    LQGLYLGXDO¶VWD[LGHQWLILFDWLRQQXPEHURUDILQDQFLDODFFRXQWQXPEHU
   See%DQNUXSWF\5XOH                                               RQO\WKHLQLWLDOVRIDPLQRU¶VQDPHDQGRQO\WKH\HDURIDQ\SHUVRQ¶V
                                                                           GDWHRIELUWK,IDFODLPLVEDVHGRQGHOLYHULQJKHDOWKFDUHJRRGVRU
 <RXDUHQRWUHTXLUHGWRDWWDFKVXSSRUWLQJ
                                                                           VHUYLFHVOLPLWWKHGLVFORVXUHRIWKHJRRGVRUVHUYLFHVWRDYRLG
   GRFXPHQWVWRWKLVIRUP0DQ\FRPPXQLWLHVVXIIHUHG
                                                                           HPEDUUDVVPHQWRUGLVFORVXUHRIFRQILGHQWLDOKHDOWKFDUHLQIRUPDWLRQ
   VLJQLILFDQWLIQRWFRPSOHWHUXLQDQGGHVWUXFWLRQ$OVR
                                                                           <RXPD\ODWHUEHUHTXLUHGWRJLYHPRUHLQIRUPDWLRQLIWKHWUXVWHHRU
   PDQ\LQGLYLGXDOFODLPDQWVDUHGLVSODFHGODFNWKHPHDQV
   IRUHOHFWURQLFDQGFRPSUHKHQVLYHFRPPXQLFDWLRQVDQG                     VRPHRQHHOVHLQLQWHUHVWREMHFWVWRWKHFODLP
   FRQWLQXHWRKDYHXUJHQWSULRULWLHVWKDWPDNH                            3URRIRI&ODLP$IRUPWKDWVKRZVWKHFUHGLWRUKDVDWRUWFODLP
   GRFXPHQWDWLRQUHTXLUHPHQWVGLIILFXOWDQGLPSUDFWLFDO,W               DJDLQVWWKHGHEWRUVRQRUEHIRUHWKHGDWHRIWKHEDQNUXSWF\ILOLQJ7KH
   LVXQGHUVWRRGWKDWVXSSRUWLQJGRFXPHQWVIRUPDQ\
                                                                           IRUPPXVWEHILOHGLQWKHGLVWULFWZKHUHWKHFDVHLVSHQGLQJ
   FODLPDQWVKDYHEHHQGHVWUR\HGRUORVWLQWKHILUHVDQG
   WKDWWKHUHFRQVWUXFWLRQDQGUHWULHYDOSURFHVVLVVORZRU                5HGDFWLRQRILQIRUPDWLRQ0DVNLQJHGLWLQJRXWRUGHOHWLQJFHUWDLQ
   HYHQXQGHUZD\6XSSRUWLQJGRFXPHQWVVKDOOEH                           LQIRUPDWLRQWRSURWHFWSULYDF\)LOHUVPXVWUHGDFWRUOHDYHRXW
   JDWKHUHGPDLQWDLQHGDQGSURYLGHGDWDODWHUGDWHDV                    LQIRUPDWLRQHQWLWOHGWRSULYDF\RQWKHProof of Claim IRUPDQGDQ\
   LQVWUXFWHGE\WKH&RXUW                                                DWWDFKHGGRFXPHQWV
 4XHVWLRQ0HPEHUVRIDIDPLO\DUHQRWUHTXLUHGWRILOH
   DSURRIRIFODLPDVDIDPLO\EXWFDQVXEPLWLQGLYLGXDO                  2IIHUVWRSXUFKDVHDFODLP
   FODLPIRUPVIRUHDFKIDPLO\PHPEHUWKDWKDVDWRUWFODLP                &HUWDLQHQWLWLHVSXUFKDVHFODLPVIRUDQDPRXQWWKDWLVOHVVWKDQWKH
   DJDLQVWWKHGHEWRUV                                                    IDFHYDOXHRIWKHFODLPV7KHVHHQWLWLHVPD\FRQWDFWFUHGLWRUVRIIHULQJ
                                                                           WRSXUFKDVHWKHLUFODLPV6RPHZULWWHQFRPPXQLFDWLRQVIURPWKHVH
 4XHVWLRQ,I\RXVXIIHUHGSURSHUW\GDPDJHWKHQ
                                                                           HQWLWLHVPD\HDVLO\EHFRQIXVHGZLWKRIILFLDOFRXUWGRFXPHQWDWLRQRU
   SURYLGHWKHVWUHHWDGGUHVVRIHDFKUHDOSURSHUW\SDUFHO
                                                                           FRPPXQLFDWLRQVIURPWKHGHEWRU7KHVHHQWLWLHVGRQRWUHSUHVHQWWKH
   ZKHUH\RXVXIIHUHGSURSHUW\GDPDJH,I\RXZHUH
   SHUVRQDOO\HYDFXDWHGDVWKHUHVXOWRIDILUHWKHQSURYLGH              EDQNUXSWF\FRXUWWKHEDQNUXSWF\WUXVWHHRUWKHGHEWRU$FUHGLWRU
   WKHDGGUHVVRULQWHUVHFWLRQFORVHVWWRZKHUH\RX                        KDVQRREOLJDWLRQWRVHOOLWVFODLP+RZHYHULIDFUHGLWRUGHFLGHVWR
   HQFRXQWHUHGWKHILUHDQGEHJDQHYDFXDWLRQ,I\RX                      VHOOLWVFODLPDQ\WUDQVIHURIWKDWFODLPLVVXEMHFWWR%DQNUXSWF\5XOH
   VXIIHUHGSURSHUW\GDPDJHDQGZHUHHYDFXDWHGIURPD                       H DQ\SURYLVLRQVRIWKH%DQNUXSWF\&RGH 86&HW
   GLIIHUHQWORFDWLRQLQFOXGHERWK,I\RXZHUHDUHQWHU                VHT WKDWDSSO\DQGDQ\RUGHUVRIWKHEDQNUXSWF\FRXUWWKDWDSSO\
   SURYLGHWKHDGGUHVVRI\RXUUHVLGHQFH

 4XHVWLRQ7KLVTXHVWLRQUHTXHVWVJHQHUDO
   VWDWHPHQWVRIXQGHUO\LQJIDFWVUHODWLQJWRKDUPDQGLVQRW
   LQWHQGHGWREHH[KDXVWLYHRUSUHFOXVLYH
        Case: 19-30088               Doc# 2747-1               Filed: 06/25/19    Entered: 06/25/19 11:02:07               Page 10
                                                                        of 11
3OHDVHVHQGFRPSOHWHG3URRI V RI&ODLPWR

,IE\ILUVWFODVVPDLO
3* (&RUSRUDWLRQ&ODLPV3URFHVVLQJ&HQWHU
FR3ULPH&OHUN//&
*UDQG&HQWUDO6WDWLRQ32%R[
1HZ<RUN1<
UG

,IE\RYHUQLJKWFRXULHURUKDQGGHOLYHU\
3* (&RUSRUDWLRQ&ODLPV3URFHVVLQJ&HQWHU
FR3ULPH&OHUN//&
7KLUG$YHQXH6XLWH


%URRNO\Q1<
<RXPD\DOVRKDQGGHOLYHU\RXUFRPSOHWHG3URRI V RI
&ODLPWRDQ\RIWKHIROORZLQJVHUYLFHFHQWHURIILFHV GXULQJ
WKHKRXUVRIDP±SP3DFLILF7LPH 

&KLFR6HUYLFH&HQWHU
6DOHP6WUHHW
&KLFR&$

0DU\VYLOOH6HUYLFH&HQWHU
³'´6WUHHW
0DU\VYLOOH&$

1DSD6HUYLFH&HQWHU
6RVFRO$YH6WH
1DSD&$

2URYLOOH6HUYLFH&HQWHU
+XQWRRQ6WUHHW
2URYLOOH&$

5HGGLQJ6HUYLFH&HQWHU
0HDGRZ9LHZ5RDG
5HGGLQJ&$

6DQWD5RVD6HUYLFH&HQWHU
6WRQ\&LUFOH
6DQWD5RVD&$
3KRWRFRS\PDFKLQHVZLOOQRWEHDYDLODEOHDWWKH&ODLP
6HUYLFH&HQWHUV\RXPXVWEULQJDFRS\RI\RXUFODLPLI\RX
ZLVKWRUHFHLYHDGDWHVWDPSHGFRQIRUPHGFRS\


  'RQRWILOHWKHVHLQVWUXFWLRQVZLWK\RXUIRUP




          Case: 19-30088          Doc# 2747-1        Filed: 06/25/19   Entered: 06/25/19 11:02:07   Page 11
                                                              of 11
